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lN THE UNlTED STATES DISTRICT"(>®,-U T
FOR THE WESTERN DISTR]CT OF TEN_NE WE

 

EASTERN DIVISION l
CARROLL CAUDLE, )
) 3
Piaintiff, ) 2
) §
VS_ ) NO. 1-03_1263 w
) ;E
Jo ANNE BARNHART, ) §_»_»
COMMISSIONER oF soCIAL ) §§
sECURITY, )
)
Defendant. )

 

ORDER AMENDING PREVIOUS ORDER APPROVING PLAlNTIFF’S ATTORNEY
FEES

 

On April 25, 2005, this court granted Plaintiff Carroll Caudle’s motion for approval
of attorney’s fees pursuant to the Social Security Act, 42 U.S.C. § 406(b), and the Equal
Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(<51). The court order found that the
512,025.00 amount requested by Plaintiff and his counsel was reasonable; however, that
amount was to be offset by the $5,000.00 already paid to counsel under the EAJA pursuant
to the court’s order on October 5, 2004. Thus, the April 25“‘ order approved a fee of
$7,025.00 under § 406(b), to be directly forwarded to Plaintist counsel out of the past-due
benefits withheld

Before the court is Defendant’s motion to amend the April 25"‘ order. Plaintiff

responded Defendant argues that the court’s previous order should be amended to reflect

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that Plaintiff"s counsel, not Defendant, should refund Plaintiff $5,000.00 from the
812,025.00 in attorney’s fees awarded under § 406(b) as reimbursement for EAJA fees
previously received by Plaintiff" s counsel. Speciflcally, Defendant cites Pub. L. No. 99-80,
99 Stat 183, (August 5, 1985), which amended the EAJA, and provides:
(b) Section 206(b) of the Social Seourity act (42 U.S.C. 406(b)(l)) shall not
prevent an award of fees and other expenses under section 2412(d) of title 28,
United States Code. Seetion 206(b)(2) of the Social Security Act shall not
apply with respect to any award but only if, where the claimant’s attorney
receives fees for the same work under both section 206(b) of that Act and
section 2412(d) of title 28, United States Code, the claimant’s attorney refunds
to the claimant the amount of the smaller fee.
The government also relies on the Supreme Court’s holding in Gisbrecht v. Barnhart, 535
U.S. 789 (2002). In Gisbrecht, the Court addressed the relationship between attorney’s fees
awarded under both the EAJA and § 406(b):
Congress harmonized fees payable by the Government under EAJA with fees
payable under § 406(b) out of claimant’s past-due Social Security benefits in
this manner: Fee awards may be made under both prescriptions, but the
claimant’s1 attorney must ‘refan[d] to the claimant the amount of the smaller
fee.’
535 U.S. at 796 (quoting Pub. L. No. 99-80 § 3, 99 Stat. 186). Thus, Defendant argues that,
when reading Pub. L. No 99-80 and Gisbreoht together, the implication is that the
government pays court-awarded fees to the plaintiff’s counsel and that the attorney then
refunds the appropriate amount to his client.
Plaintiff argues that Kopulos v. Barnhart, 318 F.Supp.Zd 657 (N.D.Ill. 2004), and
Kimball v. Shalala, 826 F.Supp. 573 (D.Me. 1993), require a different result. The court

disagrees with Plaintiff’s contention. First, it should be noted that, even if the findings of

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the Northern Distriet of Illinois and District of Maine support Plaintiff" s argument, these
district court holdings are persuasive but not binding authority on this court. Second, after
reviewing Kopulos and _l§_i”n_ib_all, the court finds that both cases support Defendant’s
contention that Pub L. No. 99-80 and the Supreme Court’s Gisbrecht decision require
Plaintiff’s counsel to refund Plaintiff$S,OO0.00 awarded under § 406(b).

In K_irn_b_al_l, the district court noted that “where a claimant’s attorney receives fees for
the same wor ” under both §406(b) and the EAJA, “the claimant’s attorney refunds to the
claimant the amount for the smaller fee.” M, 826 F.Supp. at 578 (internal citations
omitted) (emphasis added). The district court then awarded “Plaintiff" s counsel 82,677.50
in fees and Plaintiff is entitled to a refund of the entire amount withheld....” _Id Therefore,
when applying Pub. L. No. 99-80 and Gisbreoht, the district court awarded the entire amount
to plaintiffs counsel and then ordered the attorney to reimburse the plaintiff The district
court did not order the government to off-set the amount already disbursed under the EAJA.

ln Kopulos, the Northern District of Illinois considered whether an attorney could
recover under the EAJA and § 406(b). Kopulos, 318 F.Supp.2d at 663-64. The district
court noted that Congress extended and amended the EAJA in 1984 to permit attorneys to
collect both EAJA awards and SSA awards under certain circumstances LI. at 663. “The
result was a harmonization of fees payable by the Government under the EAJA with fees
payable out of a claimant’s past-due social security benefits under §§ 406(b) that permitted
fee awards under both prescriptions SO long as the attorney refunds to the Claimartt amount

of the smaller fee.” _I_d; (citing Gisbrecht, 535 U.S. at 796) (emphasis added). The district

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court went on to state:

The claimant is to be the primary beneficiary of the EAJA award. Thus, if a

claimant is entitled to past-due benefits in the amount of 8 10,000, the attorney

under the SSA would be entitled to 25% of that amount, or $2,500, and the

claimant would receive $7,500 in net benefits. However, if the attorney had

secured an EAJA award of $l ,000 “for the same work,” the claimant would

receive the benefit of that award in the form of a credit, which would be paid

by the Government, against the $2,5()0 owed to the attorney. Therefore, the

attorney would net $2,500 and the claimant would net $8,500 (as opposed to

S7,500). Similarly, if the EAJA award had been $3,000, the attorney would

net the entire $3,000 and the claimant would net the entire 810,000. The cap

on SSA awards under §§ 406(b)(l) is not a ceiling on the amounts of

attorney's fees that can be awarded under the EAJA.
Li at 664 (internal citations omitted). Although Plaintiff argues that this calculation by the
Northern District requires the government, not Plaintiff’ s cou.nsel, to refund the $5,000.00
to Plaintiff, this court finds that the district court’s examples of attorney’s fees available
under the EAJA were meant to demonstrate that § 406(b) does not limit an EAJA award.
The court discussed only the “net benefits” and did not detail the exact way in which these
benefits were distributed Thus, this excerpt-cited by Plaintiff-does not address the issue
before the court.

ln the present case, the Supreme Court clearly stated that a plaintiff” s attorney must
refund any reimbursements to the plaintiff §_ee Gisbrecht, 535 U.S. at 796. The cases cited
by Plaintiffare in accord. w Kimball, 826 F.Supp. at 578; Kopulos, 318 F.Supp.Zd at 663.
Consequently, Defendant’s motion to amend the April 25th order granting attorney’s fees is
GRANTED. The Social Security Administration is ordered to pay the full 812,025.00 to
Plaintiff’ s counsel. Plaintiff’ s counsel must then refund $5,000.00 to Plaintiff for EAJA fees

previously received. Further, Plaintiff` s request for sanctions is DENIED.

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IT lS SO ORDERED.

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J ES D. TODD
ITED STATES DISTRICT JUDGE

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DATE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Honorable .l ames Todd
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